                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 FOOD LION, LLC and MARYLAND
 AND VIRGINIA MILK PRODUCERS
 COOPERATIVE ASSOCIATION, INC.

              Plaintiffs,
                                              1:20-CV-00442
       v.

 DAIRY FARMERS OF AMERICA, INC.,

              Defendant.


       STIPULATED DISCOVERY AND BRIEFING SCHEDULE/ORDER

      The parties submit the following Discovery and Briefing Schedule which shall be

effective unless and until the Court grants Defendant’s pending Motion to Dismiss:

1.    The parties shall serve initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) on or

      before July 10, 2020;

2.    The parties shall meet as soon as practicable for purposes of submitting a Rule

      26(f) report to the Court.

3.    Defendant’s Answer to Plaintiffs’ Complaint and any motions to amend the

      Complaint shall be filed on or before 21 days after denial of Defendant’s Motion

      to Dismiss.

4.    Defendant shall respond to Plaintiffs’ document requests served on June 17, 2020,

      and begin producing documents by no later than July 17, 2020.

5.    The parties agree that the production of structured data by all parties shall be




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      completed on or before August 15, 2020. In advance thereof, the parties shall meet

      and confer regarding the scope of any structured data production as soon as

      practicable.

6.    The parties shall serve all initial requests for production by no later than July 10,

      2020, and any additional requests for production must be served on or before

      August 31, 2020. All documents shall be produced as soon as reasonably

      practicable, but by no later than October 2, 2020.

7.    The parties shall serve all interrogatories, on or before August 31, 2020. All

      responses to interrogatories shall be provided by no later than October 2, 2020.

8.    The parties shall serve all requests for admission on or before January 29, 2021.

      All responses to requests for admission shall be served pursuant to the Rules of

      Civil Procedure and, in no event, no later than February 26, 2021.

9.    Depositions of all non-expert witnesses and fact discovery shall be completed by

      October 30, 2020, unless otherwise agreed to by the parties (other than as set forth

      in paragraph 8).

10.   The parties shall meet and confer to establish a pretrial schedule by no later than

      November 2, 2020 and, if there are disagreements, make a joint submission to the

      court by November 9, 2020, for resolution. The parties shall appear for a status

      conference thereafter to discuss the pretrial schedule at the Court’s convenience.

11.   Plaintiffs shall submit expert witness reports on or before November 13, 2020.

12.   Defendants shall submit expert witness reports on or before January 8, 2021 and




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      depositions of plaintiffs’ experts shall be conducted within this same time period.

13.   Plaintiffs shall submit rebuttal expert reports on or before February 8, 2021, and

      depositions of defendants’ experts shall be completed within this same time

      period.

14.   Defendants shall conduct any additional depositions of plaintiffs’ experts who file

      rebuttal reports within 10 days of the filing of any such rebuttal report. Any

      deposition of a rebuttal expert shall be strictly limited to the scope of any new

      opinions in the rebuttal report.

15.   All Daubert and summary judgment motions shall be filed on or before February

      22, 2021. Oppositions to any such motions are due 30 days after service of the

      motion and replies are due 14 days after service of the opposition.

16.   This case shall be ready for trial by April 21, 2021, with all pretrial disclosures

      and exchanges completed and motions in limine fully briefed by that date.

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APPROVED and SO ORDERED:
                                            Hon. Catherine C. Eagles




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